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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

           REVEREND MICHAEL JON
           KELL, et al.,

                 Plaintiffs,
                                                       CIVIL ACTION NO.
                 V.                                    1: l 7-CV-4374-RWS

           DAVID J. SMITH,

                 Defendant.

                                              ORDER

                 This matter is before the Court on Plaintiffs' Motion for Extension of Time

           [Doc. No. 6], which is GRANTED. Plaintiffs First Meliorite Church and First

           Meliorite Church of Curacao are ORDERED to obtain counsel no later than

           January 2, 2018. If they fail to obtain counsel, their claims against Defendant

           Smith will be dismissed.

                 SO ORDERED, this~ day of December, 2017.


                                                 R~~
                                                 United States District Judge




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